Case No. 1:21-cv-01382-GPG-NRN Document 97-9 filed 07/20/23 USDC Colorado pg 1 of
                                      4




                       EXHIBIT I
Case No. 1:21-cv-01382-GPG-NRN Document 97-9 filed 07/20/23 USDC Colorado pg 2 of
                                      4
   "EXHIBIT I" - 1

        "actor_id": 24322506,
        "actor_ip": "86.189.219.211",
        "actor_location": "Southampton, England, United Kingdom",
        "created_at": "2017-03-23 21:24:35 +0000",
        "user": "benthompson2001",
        "user_id": 24322506
   },
   {
        "action": "user.login",
        "actor": "benthompson2001",
        "actor_id": 24322506,
        "actor_ip": "91.225.19.231",
        "actor_location": "Eastleigh, England, United Kingdom",
        "created_at": "2017-03-03 13:27:42 +0000",
        "user": "benthompson2001",
        "user_id": 24322506
   },
   {
        "action": "user.login",
        "actor": "benthompson2001",
        "actor_id": 24322506,
        "actor_ip": "91.225.19.231",
        "actor_location": "Eastleigh, England, United Kingdom",
        "created_at": "2017-03-03 13:25:39 +0000",
        "user": "benthompson2001",
        "user_id": 24322506
   },
   {
        "action": "user.login",
        "actor": "benthompson2001",
        "actor_id": 24322506,
        "actor_ip": "91.225.19.228",
        "actor_location": "Eastleigh, England, United Kingdom",
        "created_at": "2017-03-0113:33:07 +0000",
        "user": "benthompson2001",
        "user_id": 24322506
   },
   {
        "action": "user.login",
        "actor": "benthompson2001",
        "actor_id": 24322506,
        "actor_ip": "86.158.130.235",
        "actor_location": "Southampton, England, United Kingdom",
        "created_at": "2017-02-28 17:39:59 +0000",
        "user": "benthompson2001",
        "user_id": 24322506
   },


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Case No. 1:21-cv-01382-GPG-NRN Document 97-9 filed 07/20/23 USDC Colorado pg 3 of
                                      4
   "EXHIBIT I" - 2

   },
   {
        "action": "user.login",
        "actor": "BenedictThompson",
        "actor_id": 73565087,
        "actor_ip": "86.158.168.176",
        "actor_location": "Southampton, England, United Kingdom",
        "created_at": "2021-02-08 12:01:40 +0000",
        "user": "BenedictThompson",
        "user_agent": "Mozilla/5.0 (Xll; Ubuntu; Linux x86_64; rv:85.0) Gecko/20100101 Firefox/85.0",
        "user_id": 73565087
   },
   {
        "action": "user.login",
        "actor": "BenedictThompson",
        "actor_id": 73565087,
        "actor_ip": "86.158.168.176",
        "actor_location": "Southampton, England, United Kingdom",
        "created_at": "2021-02-08 11:59:28 +0000",
        "user": "BenedictThompson",
        "user_agent": "Mozilla/5.0 (Xll; Ubuntu; Linux x86_64; rv:85.0) Gecko/20100101 Firefox/85.0",
        "user_id": 73565087
   },
   {
        "action": "user.login",
        "actor": "BenedictThompson",
        "actor_id": 73565087,
        "actor_ip": "86.158.168.176",
        "actor_location": "Southampton, England, United Kingdom",
        "created_at": "2021-02-08 10:30:00 +0000",
        "user": "BenedictThompson",
        "user_agent": "Mozilla/5.0 (Xll; Ubuntu; Linux x86_64; rv:85.0) Gecko/20100101 Firefox/85.0",
        "user_id": 73565087
   },
   {
        "action": "user.login",
        "actor": "BenedictThompson",
        "actor_id": 73565087,
        "actor_ip": "86.158.130.100",
        "actor_location": "Southampton, England, United Kingdom",
        "created_at": "2021-01-29 13:45:48 +0000",
        "user": "BenedictThompson",
        "user_agent": "Mozilla/5.0 (Xll; Ubuntu; Linux x86_64; rv:84.0) Gecko/20100101 Firefox/84.0",
        "user_id": 73565087
   },
   {
        "action": "user.login",


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Case No. 1:21-cv-01382-GPG-NRN Document 97-9 filed 07/20/23 USDC Colorado pg 4 of
                                      4
    "EXHIBIT I" - 3

         "actor": "BenedictThompson",
         "actor_id": 73565087,
         "actor_ip": "86.158.130.107",
         "actor_location": "Southampton, England, United Kingdom",
         "created_at": "2020-11-30 14:15:30 +0000",
         "user": "BenedictThompson",
         "user_agent": "Mozilla/5.0 (X11; Ubuntu; Linux x86_64; rv:83.0) Gecko/20100101 Firefox/83.0",
         "user_id": 73565087
    },
    {
         "action": "user.login",
         "actor": "BenedictThompson",
         "actor_id": 73565087,
         "actor_ip": "137.205.1.140",
         "actor_location": "Coventry, England, United Kingdom",
         "created_at": "2020-11-1114:15:25 +0000",
         "user": "BenedictThompson",
         "user_agent": "Mozilla/5.0 (X11; Ubuntu; Linux x86_64; rv:82.0) Gecko/20100101 Firefox/82.0",
         "user_id": 73565087
    },
    {
         "action": "user.login",
         "actor": "BenedictThompson",
         "actor_id": 73565087,
         "actor_ip": "137.205.1.202",
         "actor_location": "Coventry, England, United Kingdom",
         "created_at": "2020-11-06 15:05:28 +0000",
         "user": "BenedictThompson",
         "user_agent": "Mozilla/5.0 (X11; Ubuntu; Linux x86_64; rv:82.0) Gecko/20100101 Firefox/82.0",
         "user_id": 73565087
    },
    {
         "action": "user.login",
         "actor": "BenedictThompson",
         "actor_id": 73565087,
         "actor_ip": "5.151.178.0",
         "actor_location": "Coventry, England, United Kingdom",
         "created_at": "2020-10-28 00:19:08 +0000",
         "user": "BenedictThompson",
         "user_agent": "Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chr
         "user_id": 73565087
    }


}




                                                                                SCHOBER_003168
